
8 N.Y.2d 937 (1960)
The People of the State of New York, Respondent,
v.
Robert Conklin, Appellant.
Court of Appeals of the State of New York.
Argued May 27, 1960.
Decided July 8, 1960.
Robert D. Schneider for appellant.
Frank S. Hogan, District Attorney (Peter R. Rosenblatt of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order reversed, and matter remitted to the Court of General Sessions with directions to grant the application to vacate the sentence and to resentence defendant without the imposition of the additional sentence under section 1944 of the Penal Law. (See People v. Griffin, 7 N Y 2d 511.) No opinion.
